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  8   Communications, LLC
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11
      ENTROPIC COMMUNICATIONS,                 Case No. 2:23-cv-1043-JWH-KES
 12   LLC,                                     (Lead Case)
 13                     Plaintiff,             Case No. 2:23-cv-1047-JWH-KES
                                               (Related Case)
 14         v.                                 Case No. 2:23-cv-1048-JWH-KES
                                               (Related Case)
 15   DISH NETWORK CORPORATION,                Case No. 2:23-cv-5253-JWH-KES
      et al.,                                  (Related Case)
 16
                        Defendants.            ENTROPIC COMMUNICATIONS,
 17                                            LLC’S NOTICE OF MOTION AND
                                               MOTION TO DISMISS COX
 18                                            DEFENDANTS’ AMENDED
                                               COUNTERCLAIMS PURSUANT TO
 19                                            RULE 12(b)(6); MEMORANDUM OF
                                               POINTS AND AUTHORITIES IN
 20   ENTROPIC COMMUNICATIONS,                 SUPPORT THEREOF;
      LLC,                                     DECLARATION OF CASSIDY T.
 21                                            YOUNG IN SUPPORT THEREOF;
                        Plaintiff,             [PROPOSED] ORDER
 22
            v.                                 Hearing Date:       March 29, 2024
 23                                            Hearing Time:       9:00 a.m.
      COX COMMUNICATIONS, INC., et             Courtroom:          9D (Santa Ana)
 24   al.,
 25                     Defendants.             REDACTED VERSION OF
 26                                             DOCUMENT PROPOSED TO BE
                                                FILED UNDER SEAL
 27

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  1
      ENTROPIC COMMUNICATIONS,
  2   LLC,
  3                      Plaintiff,
  4         v.
  5   COMCAST, et al.,
  6                      Defendants.
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  9
      ENTROPIC COMMUNICATIONS,
 10   LLC,
 11                      Plaintiff,
 12         v.
 13   DIRECTV, LLC, et al.,
 14                      Defendants.
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  1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
  2   RECORD:
  3         PLEASE TAKE NOTICE that on March 29, 2024, or as soon thereafter as
  4   this matter may be heard, in Courtroom 9D of the United States District Court for the
  5   Central District of California, located at 411 W. 4th Street, Santa Ana, California
  6   92701, Entropic Communications, LLC (“Entropic”) will, and hereby does, move the
  7   Court for an Order dismissing Cox Communications, Inc., CoxCom LLC, and Cox
  8   Communications California, LLC’s (collectively, “Cox”) Amended Counterclaims
  9   against Entropic in their entirety and with prejudice. This Motion is made pursuant
 10   to Rule 12(b)(6) of the Federal Rules of Civil Procedure, on the ground that Cox’s
 11   Amended Counterclaims fail to state a claim upon which relief can be granted.
 12         Specifically, Cox alleges that Entropic tortiously interfered with the
 13   contractual obligations of third party MaxLinear, but Cox’s allegations do not
 14   plausibly show that MaxLinear’s conduct actually breached the agreement, that Cox
 15   suffered a cognizable harm as a result of the alleged breach, or that Entropic
 16   performed intentional acts designed to induce MaxLinear’s conduct. Cox further
 17   seeks a declaratory judgment that the patent assignments from MaxLinear to Entropic
 18   are void, but Cox alleges no plausible reason why the patent assignments violate
 19   MaxLinear’s contractual obligations, nor any other legal basis for voiding the
 20   assignments.
 21         This Motion is made following a conference of counsel pursuant to Local Rule
 22   7-3 that took place on January 30, 2024. The Parties thoroughly discussed the
 23   substance and potential resolution of the filed Motion.
 24         The Motion is based on this Notice, the Memorandum of Points and
 25   Authorities attached hereto, the attached Declaration of Cassidy Young, the complete
 26   Court files and records in this action, and all matters that may be properly considered
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  1   by the Court at the hearing on this Motion.
  2
      Dated: February 6, 2024                K&L GATES LLP
  3
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 16                                                 Attorneys for Plaintiff, Entropic
                                                    Communications, LLC
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         Cox’s tortious interference claim fails on numerous grounds. First, Cox fails
  4   to plead that it has suffered a cognizable harm. 1 The only meaningful “harm” Cox
  5   identifies is its need to defend itself in this case, but nothing in the contract at issue
  6   gave Cox any right or expectation to be free of infringement suits—nor is defending
  7   a suit brought in good faith a legally cognizable harm. Second, Cox fails to plead an
  8   actual breach of the contract. Despite taking a shotgun approach and alleging seven
  9   distinct breaches by MaxLinear, Cox still does not plausibly allege any conduct by
 10   MaxLinear that actually violates its contractual obligations.
 11         The contract at issue is a common creature of standards organizations. These
 12   agreements provide the right to receive a license (as opposed to being enjoined) in
 13   exchange for a FRAND (fair, reasonable, and non-discriminatory) fee. The MoCA
 14   IPR Policy does not provide a free license; it does not permit Cox to infringe without
 15   paying; and it does not provide Cox any freedom or immunity from lawsuits for such
 16   infringement. Cox does not plead otherwise because it cannot. The only contractual
 17   right plausibly pled is one Cox chose to never exercise—to request a FRAND license.
 18   Cox never wanted to pay for its use of the intellectual property at issue, and thus
 19   never asked for a license (despite Entropic affirmatively reaching out). The result is
 20   the present patent infringement suit. Cox fails to plead that anything in the IPR Policy
 21   or any other contract makes it immune from suit. Indeed, the IPR Policy facially
 22   contemplates that patent owners can indeed enforce their rights through litigation.
 23   Cox didn’t want a license and cannot turn the IPR Policy inside-out to claim that it
 24   has been denied any rights.
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        The following terms are used herein: Plaintiff Entropic Communications, LLC
      (“Entropic”); Cox Communications, Inc., CoxCom LLC, and Cox Communications
 27   California, LLC’s (collectively, “Cox”); MaxLinear Communications LLC and
      MaxLinear, Inc. (collectively, “MaxLinear”); Multimedia over Coax Alliance
 28   (“MoCA”); twelve patents asserted by Entropic against Cox (“Asserted Patents”).
                                             2
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   1         Cox’s new declaratory judgment counterclaim fares no better. Cox asks this
   2   Court for a declaratory judgment that the patent assignments of the Asserted Patents
   3   from MaxLinear to Entropic are void. But this claim fails as a matter of law because
   4   there is no legal basis that could entitle Cox to such relief. The only theories
   5   suggested by the Amended Counterclaims are contrary to established law.
   6         Cox’s Amended Counterclaims are—as before—nothing more than an
   7   improper (and strained) effort to inject non-party MaxLinear into this patent
   8   litigation—a party who otherwise would not be subject to this Court’s jurisdiction.2
   9   But Cox’s clear desire for MaxLinear to participate as a party in this litigation does
  10   not provide a legal basis for their claims. The Court should dismiss the counterclaims
  11   with prejudice.
  12   II.   FACTUAL BACKGROUND 3
  13         Entropic filed a Complaint against Cox for infringement of 12 patents related
  14   to MoCA technology. See 23-cv-1047, DE 1 ¶ 5. MoCA technology enables in-home
  15   networking. See id. ¶¶ 34–48. Cox filed an answer and later sought leave to amend
  16   its answer to assert counterclaims. See 23-cv-1047, DE 94. Entropic and MaxLinear
  17   moved to dismiss those counterclaims, after which Cox filed an amended set of
  18   counterclaims. See 23-cv-1043, DE 276 (“Amended Counterclaims”). This Motion
  19   challenges Counts II and III of the Amended Counterclaims, which are asserted
  20   against Entropic. Count II asks the Court for a declaratory judgment voiding the
  21   assignment of the Asserted Patents from MaxLinear to Entropic, and Count III
  22

  23   2
         Cox’s claims against MaxLinear do not present a federal question, and Cox’s
  24   allegations confirm there is not diversity between the parties. See 1043 DE 266-1
       ¶¶  518–20, 522, 524.
  25
       3
         For purposes of this Motion only, and consistent with the standard described in Rule
       12(b)(6) of the Federal Rules of Civil Procedure, Entropic has assumed the truth of
  26   all well-pleaded allegations in Cox’s counterclaims. See Ileto v. Glock Inc., 349 F.3d
       1191, 1200 (9th Cir. 2003) (“We must take ‘all well-pleaded allegations of material
  27   fact as true and construe them in the light most favorable to the plaintiff’”). Entropic
       reserves the right to dispute all factual allegations and legal conclusions recited in the
  28   counterclaims.
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   1   alleges that Entropic tortiously interfered with MaxLinear’s contractual obligations
   2   under the MoCA Alliance’s IPR Policy. See 1043 DE 266-1 ¶¶ 580–86.
   3         The MoCA Alliance is an organization that produces standards for in-home
   4   networking technology. See 1043 DE 266-1 ¶ 532. To encourage industry
   5   participants to adopt the MoCA standard, the MoCA Alliance issued the IPR Policy.
   6   See 23-cv-1047, DE 94-1 (“IPR Policy”). The policy requires members to license to
   7   each other the claims of patents that are essential to practicing the MoCA standard
   8   (“Essential Patent Claims”), under terms that are fair, reasonable, and non-
   9   discriminatory (“FRAND”). IPR Policy § 5.1.1.
  10         Importantly, the IPR Policy is not a license and does not purport to be, nor
  11   does Cox plead such. The IPR Policy is a framework for handling the IP rights
  12   relevant to the standard. Any actual license must be negotiated as a separate
  13   instrument. See id. (“each Alliance Party agrees to offer and attempt to negotiate a
  14   license . . . under the terms of a separate written agreement”). Furthermore, the
  15   MoCA IPR Policy grants Alliance Parties the right to request a FRAND license. See
  16   id. (“upon the written request of any other then-current Alliance Party”). The rights-
  17   holder is then obligated to offer a license on FRAND terms. Id.
  18         If no license is achieved, because the prospective licensee fails to request a
  19   license (or rejects the FRAND license offer), the IPR Policy expressly provides that
  20   a party may seek damages for infringement of an Essential Patent Claim. See id.
  21   (“Such waiver of injunctive relief shall not prohibit the waiving Alliance Party from
  22   seeking or receiving damages in connection with such infringement.”). There is no
  23   plausible view of the IPR Policy as authorizing infringement or providing any party
  24   freedom from an infringement suit. The opposite is contemplated by the Policy.
  25         MaxLinear joined MoCA around August 2011, signing a MoCA Associate
  26   Agreement. See 1043 DE 266-1 ¶¶ 534–35. MaxLinear assigned the Asserted Patents
  27   to Entropic on March 31, 2021. Id. ¶ 560. Cox alleges that these assignments
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   1   constituted a breach of the IPR Policy by MaxLinear and are therefore void. See id.
   2   ¶ 576, 580–82. Cox further alleges that MaxLinear breached confidentiality
   3   obligations by disclosing confidential MoCA documents to Entropic. See id. ¶ 546,
   4   569–70, 581. Finally, Cox alleges that Entropic tortiously interfered with the IPR
   5   Policy by inducing MaxLinear’s allegedly breaching conduct. See id. ¶¶ 583–86.
   6   Entropic disputes these allegations.
   7   III.   LEGAL STANDARD
   8          Rule 12(b)(6) of the Federal Rules of Civil Procedure requires dismissal of a
   9   complaint where “the complaint lacks a cognizable legal theory or sufficient facts to
  10   support a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521
  11   F.3d 1097, 1104 (9th Cir. 2008). Factual allegations must be enough to “raise a right
  12   to relief above a speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
  13   555 (2007). “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does
  14   not need detailed factual allegations, a plaintiff’s obligation to provide the ‘grounds’
  15   of his ‘entitlement to relief’ requires more than labels and conclusions, and a
  16   formulaic recitation of the elements of a cause of action will not do.” Id. While a
  17   court generally must accept plaintiff’s factual allegations as true, it need not accept
  18   as true conclusory allegations or legal characterizations cast in the form of factual
  19   allegations. W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981).
  20   IV.    ARGUMENT
  21          A.    Cox fails to state a claim that Entropic tortiously interfered with
  22                the MoCA IPR Policy.
  23          To state a claim for tortious interference with contract, the party asserting the
  24   claim must show: “(1) a valid contract between [the party asserting the claim] and a
  25   third party; (2) defendant’s knowledge of the contract; (3) defendant’s intentional
  26   acts designed to induce breach or disruption of the contract; (4) actual breach or
  27   disruption; and (5) resulting damage.” Name.Space, Inc. v. Internet Corp. for
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   1   Assigned Names & Numbers, 795 F.3d 1124, 1133 (9th Cir. 2015) (applying
   2   California common law on tortious interference) (quoting Family Home & Fin. Ctr.,
   3   Inc. v. Fed. Home Loan Mortg. Corp., 525 F.3d 822, 825 (9th Cir. 2008)). At least
   4   two of these elements are absent from the amended counterclaim, as described below.
   5   This is fatal because while “the pleading standard Rule 8 announces does not require
   6   ‘detailed factual allegations,’ [] it demands more than an unadorned, the-defendant-
   7   unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009)
   8   (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), 550 U.S. at 555).
   9         In essence, Cox alleges that Entropic induced MaxLinear to commit various
  10   breaches of the IPR Policy. Although Cox alleges seven distinct ways that MaxLinear
  11   supposedly breached the policy, these fall into two basic categories: (i) allegations
  12   that the assignment of the Asserted Patents from MaxLinear to Entropic was
  13   improper; and (ii) allegations that MaxLinear disclosed confidential MoCA
  14   documents to Entropic. In both cases, Cox’s tortious interference counterclaim fails
  15   to meet the pleading standard.
  16                1.    Cox fails to state a claim for tortious interference based on
  17                      MaxLinear’s assignment of the Asserted Patents to
  18                      Entropic.
  19         Cox alleges that Entropic induced MaxLinear to assign the Asserted Patents
  20   over to Entropic and that this transaction violated various terms of the IPR Policy.
  21   Specifically, Cox alleges that MaxLinear (a) attempted to circumvent an alleged
  22   obligation to license essential patent claims on FRAND terms; (b) ceased to own the
  23   Asserted Patents; (c) gave up its authority to grant licenses to the Asserted Patents;
  24   (d) transferred the Asserted Patents so as to circumvent its licensing obligations; (e)
  25   assigned the Asserted Patents purportedly free of encumbrances; and (f) executed
  26   assignment agreements that omit required language. See 1043 DE 266-1 ¶ 576. None
  27   of these are breaches of the IPR Policy, however, nor has Cox alleged a cognizable
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   1   injury flowing from this alleged conduct. As a result, Cox has not plausibly stated a
   2   claim for tortious interference because there is no underlying breach of contract.
   3                       a.     Cox fails to plead that it has suffered a cognizable
   4                              injury as a result of the patent assignments.
   5         Cox’s counterclaim fails because it has pleaded no facts connecting the patent
   6   assignments to any legally cognizable harm. To plead a tortious interference claim,
   7   a party must plausibly allege “defendant’s intentional acts designed to induce breach
   8   or disruption of the contract; [] actual breach or disruption; and [] resulting damage.”
   9   Name.Space, 795 F.3d at 1135. Here, aside from vague and barebones allegations
  10   that it “has been injured in their business or property, and has suffered and will
  11   continue to suffer damages” (1043 DE 266-1 ¶ 586), the only specific harm that Cox
  12   pleads is having to defend against this lawsuit. See 1043 DE 266-1 ¶ 573 (“Cox has
  13   been forced to defend, and incurred significant expense in defending, an action
  14   concerning patents that, if Plaintiff’s averments are correct, are not owned or ownable
  15   by Plaintiff, and as to which Cox was entitled to either an offer and negotiation of a
  16   RAND license from MaxLinear or is entitled to request or require a RAND license
  17   from MaxLinear.”). These allegations cannot state a plausible claim for multiple
  18   reasons.
  19         First, Cox does not plead that the IPR Policy grants it a right to be free of
  20   actions to enforce the patents or to seek damages. Indeed, the contrary is true. The
  21   IPR Policy specifically states that it “shall not prohibit the [signatory] Alliance Party
  22   from seeking or receiving damages in connection with [patent] infringement.” IPR
  23   Policy § 5.1.1. In other words, the IPR Policy specifically permitted MaxLinear to
  24   sue Cox for patent infringement and seek damages. Id. A claim that Entropic did
  25   something its predecessor-in-interest, MaxLinear, was contractually authorized to do
  26   cannot be a plausible allegation of “resulting damage” from any alleged breach of the
  27   IPR Policy. See Name.Space, 795 F.3d at 1135. The alleged injury of defending the
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   1   infringement lawsuit is not causally connected to any alleged breach.
   2         Second, the litigation privilege means that Entropic’s decision to bring this
   3   lawsuit cannot be considered a cognizable harm to Cox. Under California law, “[t]he
   4   bringing of a colorable claim is not actionable.” Pacific Gas & Electric Co. v. Bear
   5   Stearns & Co., 50 Cal.3d 1118, 1130–31 (1990). Moreover, “a patentee, acting in
   6   good faith on its belief as to the nature and scope of its rights, is fully permitted to
   7   press those rights even though he may misconceive what those rights are.” Mikohn
   8   Gaming Corp. v. Acres Gaming, Inc., 165 F.3d 891, 897 (Fed. Cir. 1998).
   9         Indeed, the only conceivable right Cox had with respect to MaxLinear’s
  10   patents was the right to ask for (and after asking, receive) a FRAND license offer—
  11   a right it never invoked before the filing of this suit, even after receiving letters from
  12   Entropic offering a license on FRAND terms. See Young Decl. Exhibits D–E (pre-
  13   suit communications from Entropic to Cox). As previously discussed, the IPR Policy
  14   is not itself a license. A patent owner is required to offer and attempt to negotiate a
  15   license only “upon the written request of any other then-current Alliance Party.” IPR
  16   Policy § 5.1.1. Cox alleges in only the barest of terms that “Plaintiff additionally did
  17   not and, despite Cox’s prior request in writing, has not, provided or procured any
  18   RAND-compliant offer.” 1043 DE 266-1 ¶ 571. However, Cox does not provide any
  19   details about this alleged writing. Cox does not provide a copy of its request, nor does
  20   it identify when or to whom the request was allegedly sent. On the contrary, Entropic
  21   has alleged that it initiated good-faith licensing discussions by sending multiple
  22   communications to Cox between August 2022 and January 2023. See 23-cv-1047,
  23   DE 1 ¶ 27. Cox admits it has not responded to any of these communications. See
  24   1043 DE 266-1 ¶ 27. Therefore, Cox has not plausibly alleged that it was denied a
  25   FRAND license offer or that Entropic made no “attempt to negotiate” such a
  26   license—indeed uncontroverted facts show the opposite. See IPR Policy § 5.1.1; see
  27   also Young Decl. Exhibits D–E. Moreover, Cox cannot claim to have suffered a
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   1   cognizable harm while, by its own admission, it has not availed itself of Entropic’s
   2   attempts at negotiation. Copeland v. Baskin Robbins USA, 117 Cal.Rptr.2d 875, 886
   3   (2002) (“reliance damages are the only form of recovery available in an action on a
   4   contract to negotiate an agreement”).
   5         Finally, there is no merit to Cox’s assertion that it is entitled to receive an
   6   appropriate license offer from MaxLinear, and only MaxLinear. See 1043 DE 266-1
   7   ¶¶ 516, 573. As discussed in the next section, there is no language in the IPR Policy
   8   that would confer such a right, nor does Cox allege any plausible reason why it would
   9   be harmed by having to negotiate with Entropic as opposed to MaxLinear. The policy
  10   plainly states that “the licensing obligations under this IPR Policy are intended to be
  11   binding (e.g., as encumbrances) on all successors-in-interest regardless of whether
  12   such provisions are included.” IPR Policy § 5.1.2. Thus, according to the plain
  13   language of the IPR Policy, Essential Patent Claims would continue to be subject to
  14   FRAND obligations, regardless of whether the patentee is MaxLinear, Entropic, or
  15   someone else entirely. This is why Cox can allege no harm in having to take a
  16   FRAND license from Entropic instead of MaxLinear. The counterclaim thus fails to
  17   state any resulting harm.
  18                      b.       The assignment of the Asserted Patents does not
  19                               violate any terms of the IPR Policy.
  20         Cox alleges that MaxLinear’s transfer of the Asserted Patents to Entropic
  21   breached Section 4.1.1 of the IPR Policy, which Cox reads as a wholesale ban on
  22   assigning or transferring patents. See 1043 DE 266-1 ¶ 576 (alleging MaxLinear
  23   “breach[ed] its agreement that it would own any necessary patents”). This reading
  24   directly conflicts with, and renders superfluous, other sections of the IPR Policy and
  25   therefore is implausible on its face. For starters, the IPR Policy expressly allows for
  26   assignments and transfers to third parties. Section 5.1.2 is entitled “Transfer of
  27   Essential Patent Claims” and states that “[a]ny sale, assignment or other transfer by
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   1   an Alliance Party or its Affiliates to an unaffiliated third party of an Essential Patent
   2   Claim . . . shall be made subject to the terms in this IPR Policy.” IPR Policy § 5.1.2.
   3   This section even contemplates follow-on transfers by those third parties “with the
   4   goal of binding each successor-in-interest.” Id. What’s more, Section 4.1.2,
   5   immediately following Section 4.1.1, states that an Alliance Party “represents and
   6   warrants and agrees that it has not and will not intentionally transfer or otherwise
   7   encumber its patents or patent applications . . . for the purpose of circumventing the
   8   obligation to grant licenses contained in this IPR Policy.” Id. § 4.1.2 (emphasis
   9   added). All of this is entirely unnecessary if the Alliance Party is barred from any
  10   transfers in the first place.
  11            Read in its proper context in the IPR Policy, it is evident that Section 4.1.1
  12   exists merely to confirm that Alliance Parties (including MaxLinear) are not
  13   assigning their patent rights to the MoCA Alliance by virtue of becoming a member
  14   or signing the IPR Policy:
  15            All right, title and interest in and to Alliance Party Intellectual Property
  16            shall be owned exclusively by the Alliance Party(ies) who developed
  17            the Intellectual Property or by the Alliance Party(ies) to whom the
  18            Intellectual Property was properly and legally assigned.
  19   IPR Policy § 4.1.1. Because the IPR Policy is unambiguous in allowing assignment
  20   of essential claims to third parties, Cox cannot plausibly allege that MaxLinear
  21   “breach[ed] its agreement that it would own any necessary patents.” 1043 DE 266-1
  22   ¶ 576.
  23            For the same reasons, Cox also cannot plausibly allege that MaxLinear
  24   “breach[ed] its representation, warranty, and covenant that MaxLinear would
  25   maintain the power and authority to grant patent licenses as required under the IPR
  26   Policy.” Id. This allegation is directly at odds with IPR Policy provisions allowing
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   1   assignment to third party successors-in-interest. 4 This is dispositive.
   2         Cox attempts to defend the plausibility of its claim by reference to Section
   3   4.1.2, but must invent an entirely contrary meaning to the plain language of the
   4   Policy. Cox alleges that “under Section 4.1.2, the Alliance Parties promised that each
   5   would always maintain the right to grant the required licenses under the IPR Policy.”
   6   Id. ¶ 548. This is a blatant misreading of Section 4.1.2, which states:
   7         Alliance Party represents, warrants and covenants . . . that it has the
   8         power and authority to bind itself and all of its Affiliates to the
   9         obligations contained herein, including without limitation, the
  10         obligation to grant patent licenses as set forth in this IPR Policy.
  11   There is no promise here that an Alliance Party will always have such power and
  12   authority—only that it did have such power and authority at the time the policy was
  13   executed. Not only does Cox’s reading ignore the plain language of the section, it
  14   directly conflicts with Section 5.1.2 which allows transfers. Indeed, Cox’s reading is
  15   not even consistent within Section 4.1.2 itself, which states that an Alliance Party
  16   will not “intentionally transfer or otherwise encumber its patents . . . for the purpose
  17   of circumventing the obligation to grant licenses contained in this IPR Policy.” IPR
  18   Policy § 4.1.2.
  19         Nor can Cox plausibly allege that the assignment itself was a breach because,
  20   according to Cox, it did not include specific language, or because, again according to
  21   Cox, it purported to assign the patents free of encumbrances. See 1043 DE 266-1 ¶
  22   576 (accusing MaxLinear of “(e) improperly assigning the Asserted Patents free of
  23   any encumbrances, including those created by the IPR Policy; [and] (f) executing
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         Section 5.1.2 of the IPR Policy states that “any agreement for transferring or
  25   assigning Essential Patent Claims . . . includes a provision that such transfer or
       assignment is subject to existing licenses and obligations imposed on the Alliance
  26   Party by this Agreement” and that “the licensing obligations under this IPR Policy
       are intended to be binding (e.g., as encumbrances) on all successors-in-interest.” The
  27   reference to “successors-in-interest” confirms that the policy is agnostic as to who is
       granting licenses to essential patent claims, as long as those licenses are on FRAND
  28   terms.
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   1         greater than what they possess, so assignees take a patent subject to the
   2         legal encumbrances thereon. Thus, assignment results in the assignee
   3         stepping into the shoes with regard to the rights that the assignor held
   4         and not in an expansion of those rights. Assignment transfers assignor’s
   5         contract rights, leaving them in full force and effect.
   6   Innovus Prime, LLC v. Panasonic Corp., 2013 WL 3354390, at *5 (N.D. Cal. Jul. 2,
   7   2013) (quotes and citations omitted). Moreover, the IPR Policy itself confirms that
   8   “the licensing obligations under this IPR Policy are intended to be binding (e.g., as
   9   encumbrances) on all successors-in-interest regardless of whether such provisions
  10   are included.” IPR Policy § 5.1.2 (emphasis added). Therefore, Cox cannot plausibly
  11   allege that MaxLinear assigned the patents to Entropic in such a way as to negate the
  12   FRAND licensing obligations.
  13         Lastly, Cox cannot plausibly allege that MaxLinear breached the IPR Policy
  14   by “attempting to circumvent” the policy’s licensing obligations. See 1043 DE 266-
  15   1 ¶ 576 (accusing MaxLinear of “attempting to circumvent its obligation to provide
  16   non-exclusive licenses to any patents containing essential patent claims on FRAND
  17   terms” and “breaching its promise not to transfer patents so as to circumvent the
  18   obligation to grant licenses”). As explained above, MaxLinear could not have
  19   circumvented the IPR Policy’s FRAND licensing obligations because these
  20   obligations automatically run with the patents and are binding on any successor-in-
  21   interest to the patents, and the policy is agnostic as to who is licensing essential patent
  22   claims as long as those licenses are on FRAND terms. Innovus Prime, 2013 WL
  23   3354390 at *5. Even if it were possible for MaxLinear to breach by merely attempting
  24   to circumvent the licensing obligations, there would be no injury because any
  25   Essential Patent Claims remain subject to FRAND licensing requirements. See
  26   generally First Nat. Bank v. Continental Illinois Nat. Bank, 933 F.2d 466, 469 (7th
  27   Cir. 1991) (finding no injury where defendant attempted unsuccessfully to breach the
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   1   specifications expired well before 2021, when Cox alleges the disclosure to have
   2   occurred. Therefore, Cox has not plausibly alleged a breach of the confidentiality
   3   provisions.
   4                       b.     Cox has not plausibly alleged that it suffered a
   5                              cognizable injury.
   6         Cox does not, and cannot, plausibly allege that it has been harmed by the
   7   alleged disclosure of the MoCA specifications. First, the alleged information is not
   8   Cox’s—it belongs to MoCA and its members. See 1043 DE 266-1 ¶ 546. By its own
   9   admission, Cox is no longer a member of MoCA. See 1043 DE 266-1 ¶ 552 (alleging
  10   that Cox’s MoCA membership ended in July 2022). Therefore, Cox cannot claim to
  11   have been harmed by the disclosure of MoCA confidential information generally. See
  12   id. ¶ 546 (“MoCA and/or any such MoCA members may enforce such obligations of
  13   confidentiality directly.”).
  14         Second, for the reasons discussed above, the fact that Entropic was able to
  15   bring this lawsuit against Cox is not a cognizable injury. This is expressly permitted
  16   by the IPR Policy at Section 5.1.1 and more generally by the litigation privilege. See
  17   IPR Policy § 5.1.1 (stating that the policy “shall not prohibit the Alliance Party from
  18   seeking or receiving damages in connection with [patent] infringement”); see also
  19   Mikohn Gaming, 165 F.3d at 897 (“a patentee, acting in good faith on its belief as to
  20   the nature and scope of its rights, is fully permitted to press those rights even though
  21   he may misconceive what those rights are”). 7 In any event, Entropic could just as
  22   well have filed this lawsuit without accessing the MoCA documents, i.e. by filing its
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         Even if the litigation privilege did not bar Cox’s claim, the claim should be
  24   dismissed because it is an improper effort by Cox to recover attorneys’ fees for a tort
       where such fees are otherwise not recoverable. Under California law, attorneys’ fees
  25   are recoverable “only when the party entitled to costs has a legal basis . . . grounded
       in an agreement, statute, or other law, upon which to claim recovery of attorney fees.”
  26   Ford Motor Credit Co. v. Hunsberger, 163 Cal.App.4th 1526, 1530 (2008) (quoting
       Santisas v. Goodin, 17 Cal.4th 599, 606 (1998)); see also Cal. Civ. Proc. Code
  27   § 1021. Cox cites to no agreement or statute entitling it to recover attorneys’ fees for
       Entropic’s alleged tortious interference, and it has therefore failed to allege any
  28   cognizable harm.
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   1   complaint and then acquiring the MoCA specifications through discovery. See
   2   generally Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1330 (Fed. Cir.
   3   2009) (“Pleading on ‘information and belief’ is permitted under Rule 9(b) when
   4   essential information lies uniquely within another party’s control”). Cox would have
   5   to plead that it has somehow been harmed because Entropic obtained the
   6   specifications earlier than it otherwise would have, but this is not something Cox can
   7   plausibly allege. It is remarkable that Cox is pleading that it is injured because it
   8   could not conceal its infringement. It is also not a legally cognizable claim.
   9                       c.    Cox has not plausibly alleged intentional acts by
  10                             Entropic designed to induce MaxLinear’s alleged
  11                             breach.
  12         Cox’s tortious interference claim is also deficient because it fails to “indicat[e],
  13   beyond conclusory allegations, facts making it plausible that [Entropic] intended to
  14   disrupt [Cox]’s relationship with third parties.” Soil Retention Prods., Inc. v.
  15   Brentwood Indus., Inc., 521 F. Supp. 3d 929, 960 (S.D. Cal. 2021). “To adequately
  16   plead the intentional element of a tortious interference claim, a plaintiff must allege
  17   that the defendant desired to interfere with the plaintiff’s contractual arrangement or
  18   that ‘the defendant knew that the interference was certain or substantially certain to
  19   occur as a result of its action.’” Nestle USA, Inc. v. Best Foods LLC, 562 F. Supp. 3d
  20   626, 633 (C.D. Cal. 2021) (quoting Kor. Supply Co. v. Lockheed Martin Corp., 29
  21   Cal.4th 1134, 1153 (2003)). In other words, Entropic must have done something
  22   intentionally to induce MaxLinear to disclose the MoCA documents, knowing that
  23   their disclosure would violate MaxLinear’s contractual obligations. This is
  24   completely absent from Cox’s counterclaim. There is no allegation that Entropic was
  25   aware of the confidential nature of the MoCA documents prior to their disclosure; no
  26   allegation that Entropic sought their disclosure; and no allegation that Entropic was
  27   aware of the terms of the membership agreements forming the basis of this claim.
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   1                       d.    In the alternative, this Court lacks supplemental
   2                             jurisdiction over the claims related to the disclosure of
   3                             confidential information.
   4         Setting aside the sufficiency of Cox’s allegations, this Court nonetheless lacks
   5   supplemental jurisdiction over the claim because it is not sufficiently related to the
   6   patent infringement claims and defenses in this action. See 1043 DE 266-1 ¶ 526
   7   (alleging that the Court has supplemental jurisdiction over Cox’s counterclaims). A
   8   federal district court that possesses original jurisdiction over federal claims may hear
   9   other state law claims “that are so related to claims in the action within such original
  10   jurisdiction that they form part of the same case or controversy under Article III of
  11   the United States Constitution.”8 28 U.S.C. § 1367(a). In order for a claim to “form
  12   part of the same case or controversy,” the claims must “derive from a common
  13   nucleus of operative fact.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725
  14   (1966). Where original jurisdiction is conferred by a patent infringement claim under
  15   28 U.S.C. § 1338(a), courts have held that supplemental jurisdiction exists over
  16   related state law claims only where those claims “depend[] on the resolution of a
  17   substantial question of federal patent law.” Fortinet, Inc. v. Forescout Techs., Inc.,
  18   2021 WL 5565836, at *18 (N.D. Cal. Nov. 29, 2021) (citing Additive Controls &
  19   Measurement Sys., Inc. v. Flowdata, Inc., 986 F.2d 476, 477–78 (Fed. Cir. 1993)).
  20         Here, Cox alleges that Entropic tortiously interfered with the IPR Policy by
  21   inducing MaxLinear to disclose confidential MoCA documents. 1043 DE 266-1 See
  22   ¶ 585. Nothing about this claim depends on the resolution of a substantial question
  23   of patent law. To the contrary, the only connection between this claim and the
  24   underlying patent litigation is Cox’s allegation that “Plaintiff obtained copies of the
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         Tortious interference is unquestionably a claim that is controlled by state law. See,
  26   e.g., Honey Bum, LLC v. Fashion Nova, Inc., 63 F.4th 813, 824 (9th Cir. 2023)
       (referring to tortious interference with contract as a “California business tort”). All
  27   of the parties in this action are incorporated in Delaware. See 1043 DE 266-1 ¶¶ 518–
       20, 522, 524; see also 23-cv-1047, DE 1 ¶ 6. Therefore, diversity jurisdiction is
  28   lacking. See 28 U.S.C. § 1332.
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   1   otherwise confidential MoCA standards and has relied on those clearly marked
   2   confidential material . . . to prepare and bring this suit.” Id. ¶ 569. But that has no
   3   bearing on the substantive patent claims and defenses at issue, e.g. infringement,
   4   patent validity, etc. Thus, exercising supplemental jurisdiction over Cox’s
   5   counterclaim would be inappropriate here, and the claim should be dismissed for this
   6   independent reason. See Cheng v. AIM Sports, Inc., 2011 WL 13176754, at *4–5
   7   (C.D. Cal. May 19, 2011) (dismissing state law counterclaims for lack of jurisdiction
   8   where facts necessary to determine whether plaintiff committed tort had “little, if not
   9   nothing,” to do with facts necessary to determine patent infringement).
  10         B.     Cox fails to allege a factual or legal basis for voiding the
  11                assignment of the Asserted Patents.
  12         Cox asks the Court for a declaratory judgment that the assignments of the
  13   Asserted Patents from MaxLinear to Entropic are void. 1043 DE 266-1 ¶¶ 580–82.
  14   The only alleged basis for voiding the assignments is that they purportedly violate
  15   the IPR Policy. See id. ¶ 567. As detailed in previous sections of this Motion, Cox
  16   alleges that the assignments violate the IPR Policy because they omit language
  17   required by the IPR Policy, because they purport to be free of encumbrances, and
  18   generally because they would allow the patent owner to circumvent the policy’s
  19   FRAND licensing obligations. See id. ¶ 576. To reiterate, none of these things is an
  20   actual breach of the IPR Policy. Supra § IV.A.1.a.
  21         It is well-established that an assignment is not void simply because it fails to
  22   recite an existing encumbrance, nor does that omission somehow wipe away a prior
  23   encumbrance. “[A]n assignee takes a patent subject to the legal encumbrances
  24   thereon.” Datatreasury Corp. v. Wells Fargo & Co., 522 F.3d 1368, 1372 (Fed. Cir.
  25   2008). “This occurs whether or not an assignee had notice.” Innovus Prime, LLC
  26   v. Panasonic Corp., 2013 WL 3354390, at *5 (N.D. Cal. Jul. 2, 2013) (emphasis
  27   added). As such, the assignee “takes title to the patent subject to [existing] licenses,
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   1                           CERTIFICATE OF COMPLIANCE
   2         The undersigned, counsel of record for Plaintiff Entropic Communications,
   3   LCC, certifies that this brief contains 6,367 words, which complies with the word
   4   limit of L.R. 11-6.1.
   5
       Dated: February 6, 2024              K&L GATES LLP
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